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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


CARPENTERS FRINGE BENEFIT          )
FUNDS OF ILLINOIS and              )
DAVID BRATEK, as Administrator,    )
                                   )                  CIVIL ACTION
                       Plaintiffs, )
                                   )                  NO.
       vs.                         )
                                   )                  JUDGE
DE GRAF CONCRETE CONSTRUCTION,)
INC., an Illinois corporation,     )
                                   )
                       Defendant.  )


                                          COMPLAINT

               The Plaintiffs, CARPENTERS FRINGE BENEFIT FUNDS OF ILLINOIS and

DAVID BRATEK, Administrator, by their attorneys, complaining of the Defendant, DE GRAF

CONCRETE CONSTRUCTION, an Illinois corporation, allege as follows:

               1.      This action arises under the laws of the United States and is brought pursuant

to the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§1132, 1145

(hereinafter referred to as "ERISA"). Jurisdiction is based upon the existence of questions arising

thereunder, as hereinafter more fully appears.

               2.      Plaintiffs, the CARPENTERS FRINGE BENEFIT FUNDS OF ILLINOIS,

are various welfare, pension and related joint, labor-management funds and bring this action as

"employee welfare benefit funds," and "plans," under ERISA and Plaintiff, DAVID BRATEK, is the

Administrator of Plaintiff Funds and a fiduciary with respect thereto.          Plaintiff Funds are

administered within this District.
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               3.     Defendant is obligated to make fringe benefit contributions to the Funds,

under the terms of the certain "Agreements and Declarations of Trust," establishing and outlining

the administration of these Funds, and pursuant to the terms of a collective bargaining agreement

adopting these "Agreements and Declarations of Trust" and entered into by Defendant.

               4.     As an employer obligated to make fringe benefit contributions to the Funds,

Defendant is specifically required to do the following:

               (a)    To submit to Plaintiffs for each month, by the 15th day of the month
                      following the month for which the report is made, a report stating the names,
                      social security numbers, and total hours worked in such month by each and
                      every person on whose behalf contributions are required to be made by
                      Defendant to Plaintiffs; or, if no such persons are employed for a given
                      month, to submit a report so stating;

               (b)    To accompany the aforesaid reports with payment of contributions based
                      upon an hourly rate as stated in the applicable agreements;

               (c)    To make all of its payroll books and records available to Plaintiffs for the
                      purpose of auditing same, to determine whether Defendant is making full
                      payment as required under the applicable agreements;

               (d)    To compensate Plaintiffs for the additional administrative costs and burdens
                      imposed by Defendant's failure to pay, or untimely payment of, contributions,
                      by way of the payment of liquidated damages in the amount of 10 percent of
                      any and all contributions which are not timely received by Plaintiffs for a
                      particular month, as specified fully in Paragraph 4(a) above, together with
                      interest as provided in ERISA, 29 U.S.C. §1132(g);

               (e)    To pay any and all costs incurred by Plaintiffs in auditing Defendant's payroll
                      records, should it be determined that Defendant was delinquent in the
                      reporting or submission of all contributions required of it to be made to
                      Plaintiffs;

               (f)    To pay Plaintiffs' reasonable attorneys' fees and costs necessarily incurred in
                      the prosecution of any action to require Defendant to submit its payroll books
                      and records for audit or to recover delinquent contributions;




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                (g)     To furnish to Plaintiffs a bond with good and sufficient surety thereon, in an
                        amount acceptable to Plaintiffs, to cover future contributions due the
                        Plaintiffs.

                5.      Defendant is delinquent and has breached its obligations to Plaintiffs and its

obligations under the plans in the following respect:

                        Defendant has failed and refused to submit all of its reports to Plaintiffs due,
                        to date, and/or, has failed to make payment of all contributions acknowledged
                        by Defendant thereon to be due Plaintiffs.

                6.      That upon careful review of all records maintained by Plaintiffs, and after

application of any and all partial payments made by Defendant, there is a total of $10,363.54, known

to be due Plaintiffs from Defendant, subject however to the possibility that additional monies may

be due Plaintiffs from Defendant based upon Defendant's failure to submit all required reports, or

to accurately state all hours for which contributions are due on reports previously submitted, and

subject further to the possibility that additional contributions and liquidated damages will come due

during the pendency of this lawsuit.

                7.      Plaintiffs have requested that Defendant perform its obligations as aforesaid,

but Defendant has failed and refused to so perform.

                8.      Defendant's continuing refusal and failure to perform its obligations to

Plaintiffs is causing and will continue to cause irreparable injuries to Plaintiffs for which Plaintiffs

have no adequate remedy at law.

                WHEREFORE, Plaintiffs pray:

                (A)     That an account be taken as to all employees of Defendant covered by the
                        collective bargaining agreement or agreements as to wages received and
                        hours worked by such employees to determine amounts required to be paid
                        to the Plaintiffs, covering the period for which the collective bargaining
                        agreement is to be effective;


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                       (B)        That Defendant be enjoined and ordered to submit all delinquent monthly
                                  contribution reports to Plaintiffs with the information required to be provided
                                  thereon, to continue to submit such reports while this action is pending, and
                                  to comply with its contractual obligation to timely submit such reports in the
                                  future;

                       (C)        That judgment be entered in favor of Plaintiffs and against Defendant for all
                                  unpaid contributions, liquidated damages, any costs of auditing Defendant's
                                  records, accrued interest, and Plaintiffs' reasonable attorneys' fees and court
                                  costs necessarily incurred in this action as specified herein, or as subsequently
                                  determined, all as provided for in the plans and in ERISA;

                       (D)        That Plaintiffs have such further relief as may be deemed just and equitable
                                  by the Court, all at Defendant's cost.



                                                                          /s/ Catherine M. Chapman



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